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IJNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
                                                      X
TINA ROSA and ARTHUR PUGH

                         Plaintiffs,

                     v

CITY OF SYRACUSE; GREATER SYRACUSE :
PROPERTY DEVELOPMENT CORPORATION; :
                                                          Jury Trial Demanded
STEPHANIE MINER, in her official capacity as :
Mayor of the City of Syracuse; DAVID
                                                                            5:16-cv-1123 (GTS/TWD)
                                                      :
                                                          Civil   Case No
DeIVECCHIO, in his official capacity as               :

Commissioner of Finance of the City of Syracuse; :
KATELYN WRIGHT, in her official capacity as :
Executive Director of the Greater Syracuse Property:
Development Corporation; and VITO SCISCIOLI, :
in his capacity as Chair of the Board of Directors of :
the Greater Syracuse Property Development :
Corporation                                           :



                         Defendants
                                                      X
                                       COMPLAINT

I.       NATURE OF THE ACTION

 1.      Syracuse, New York is among the poorest cities in the United States.   It is a city

 desperate for economic development, an increased tax base, and the benefits that should

 flow from those improvements to its residents. Unfortunately, that desperation has led

 the City of Syracuse to punish the very residents who need that help the most   -   low-

 income homeowners. Plaintifß, Tina Rosa and Arthur Pugh, are two such residents.

2.       In2012, the City of Syracuse and Onondaga County formed the Greater Syracuse

Property Development Corporation, known as the "Land Bank." The Land Bank was

formed pursuant to a New York State law with the stated purpose of returning abandoned

and tax delinquent properties to productive use by seizing and then selling such
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properties. While that goal may be laudable, the establishment of the Land Bank has led

to the unconstitutional seizure of properties that were already in productive use. Ms.

Rosa owned her property outright, maintained    it, and rented it to supplement her income.

The Land Bank now owns that home because of a tax debt of less than $900 that was

incurred by a prior owner of the property. Mr. Pugh also owned his home without a

mortgage. He spent years maintaining and improving that property. He lost his home to

the Land Bank without the opportunity to contest the amount of taxes allegedly owed.

3.     The properties owned by Ms. Rosa and Mr. Pugh were not blights on the

community. Their properties were benefits to their neighborhoods. Yet, both Ms. Rosa

and Mr. Pugh find themselves in the situation of having lost their homes to the Land

Bank in deprivation of their constitutional rights.

4.     Plaintiffs Arthur Pugh and Tina Rosa, through their attorneys, Legal Services of

Central New York, Inc., Samuel C. Young, Esq. and Adam R. Crowley, Esq., of counsel,

bring this action pursuant to 42 U.S.C. $ 1983, the Takings Clause of the Fifth

Amendment of the United States Constitution as incorporated through the Fourteenth

Amendment of the United States Constitution, and the due process clauses of the

Fourteenth Amendment of the United States Constitution and Article I of the New York

State Constitution against defendants City of Syracuse, the Greater Syracuse Property

Development Corporation ("Land Bank" or "GSPDC"), Stephanie Miner, Katelyn

V/right, David DelVecchio, and Vito Sciscioli. Plaintiffs allege that Defendants have

violated their rights under the United States and New York State constitutions by taking

their real property without just compensation and due process. For this Complaint,

Plaintifß allege the following:
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5.     When an owner of real property in the City of Syracuse, New York fails to pay

taxes on that property, City law allows the city to foreclose on that property and either

auction the property to a third-party or transfer the property to the Land Bank for a de

minimis amount.

6.     Upon transferring the delinquent property to the Land Bank, the City of Syracuse

also grants the Land Bank the deed and     full title to the property. The Land Bank then

holds the property until it is sold to a third-party.

7.     There is no minimum amount of back taxes that triggers this transfer process.

Further, this process does not include any formal safeguards allowing a homeowner to

challenge the amount of taxes allegedly owed.

8.     Further, the process of transferring property from the City of Syracuse to the Land

Bank not only transfers deed and title of that property, it essentially transfers all equity

in the property away from the homeowner who accumulated         it.   Neither the City   of

Syracuse nor the Land Bank are required to transfer to the original homeowner any

proceeds from the ultimate sale of the home that exceed the delinquent taxes, interest,

penalties, expenses and attorney's fees. Rather, the ultimate purchaser of a property

retains that excess, essentially denying the original homeowner any equity in the

property that he or she had accumulated.

9.    For example, if the City of Syracuse determines that a homeowner owes $ 1,000 in

delinquent taxes, the City may foreclose on that property and ultimately transfer it to the

Land Bank. This foreclosure and transfer may occur even if that $1,000 bears no
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rational relationship to the value of the property   -   even   if the home is worth many times

that amount.

10.   This situation is even more unsettling where a homeowner disputes that he owes

the amount alleged by the City of Syracuse. There is no formal procedure to challenge

the alleged amount of taxes owed. The homeowner lacks the ability to request a formal

hearing and present evidence that the amount allegedly owed is incorrect.

11.   Further, a homeowner who owes $1,000 in unpaid taxes will lose any equity that

he may have accumulated in the property. Because neither the City           of Syracuse nor the

Land Bank are required to return excess proceeds from the ultimate sale of the home, the

original homeowner will lose all equity to the third-party who purchases the home from

the Land Bank. This is the case even where a homeowner owes $1,000 in unpaid taxes

and has $50,000 in equity on a home.

12.   The Fourteenth Amendment of the United States Constitution guarantees that no

individual will be deprived of property without due process of law. Here, defendants

violate the procedural due process rights of homeowners in Syracuse by foreclosing on

their homes and transfening them to the Land Bank without the ability to formally

contest the amount allegedly owed or the nature of the transfer itself.

13.   This process also violates homeowners' substantive due process rights as

guaranteed by the Fourteenth Amendment. Substantive due process, at a minimum,

requires that governmental action bear some rational relationship to a legitimate

government interest. Here, plaintiffs do not dispute fhat a municipality has a legitimate

interest in collecting property taxes and enforcing those taxes through a foreclosure

process. However, the process employed by the City of Syracuse bears no rational
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relationship to that governmental goal. Seizing homes even where the amount allegedly

owed bears no relationship to the value of the home      -   including situations where the

amount of unpaid taxes can only be described as de minimis         -   is not a rational way to

enforce local tax laws.

14.        The Fifth Amendment of the United States Constitution guarantees that no private

property can be taken without just compensation. Additionally, that taking must be done

for   a   "public purpose." Here, the City of Syracuse and Land Bank take the property of

local homeowners without compensating them for any excess proceeds raised from the

ultimate sale of the property. This procedure deprives homeowners of any equity

accumulated in the home, an amount that the homeowner has worked for and has a

property interest in, without any compensation.

15.        Through this process, the City of Syracuse grants a homeowner's property        - the
equity he has built in his home    -   to the Land Bank with no compensation to the

homeowner. The Land Bank then retains that equity upon sale of the home, often to a

private third-party purchaser. That third-party purchaser then acquires the original

homeowner's equity if the property is sold for below its market value. At no point is the

original homeowner compensated through excess proceeds from this sale.

16.        The victims of this unconstitutional abuse of government power are the most

vulnerable members of our community. Plaintifß, and many others like them, are low-

income residents of the City of Syracuse who have been unable to pay property taxes on

their homes. They are often unable to fully understand or exercise their constitutional

rights. These residents face the risk of losing their homes for disputed amounts of

unpaid taxes. They face the risk of losing their homes for relatively small amounts          of
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 unpaid taxes. They also face the risk of losing any equity they have spent years building

 in their homes.

 17.    The plight of plaintiffs Pugh and Rosa demonstrates the dangers of this

 government abuse and overreach. Ms. Rosa is a Syracuse resident who purchased the

 home at issue in this litigation for $20,000 intending to use it as a rental property to

 supplement her income as a school bus driver. Ms. Rosa paid her taxes every year that

 she owned the house. Despite owning her house       in full and paying her taxes   as required,


 defendants seized her home for a tax debt of less than $900 that had been accumulated

 by the previous owner. Ms. Rosa attempted to pay that amount upon learning of the

 prior owner's delinquent taxes. She was not allowed to do so.

 18.   Mr. Pugh is a disabled Army veteran who raised his children in the home at issue

 in this litigation. He purchased the home in 2003 for $8,500. He paid off the home and

 it had no mortgage. Mr. Pugh fell behind in his property taxes in approximately 2004.

 Those unpaid taxes were eventually converted into liens and the City of Syracuse then

 sold those liens to a third-party entity known as Guardian Law. Mr. Pugh then began

 paying Guardian Law for those back taxes and believes that he paid that entity tens        of

 thousands of dollars. In2013, the City of Syracuse sent Mr. Pugh a letter stating that he

 owed over $25,000 back taxes for the years of 2007-2012 and was at risk of losing his

home to foreclosure. Mr. Pugh, believing that he did not owe that amount of taxes,

 contacted the City of Syracuse to dispute the amount owed. He found that there was no

formal process for disputing the amount of money owed.

II.    JURISDICTION AND VENUE

 19.   This Court has jurisdiction over this action pursuant to 28 U.S.C. $ 133 1.
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 20.    Venue is properly in the United States District Court for the Northern District         of

New York pursuant to 28 U.S.C. $ 1391 as the properties at issue are located in the

Northern District and a substantial part of the acts and omissions at issue in this matter

 took place in this District.

ilI.    PARTIES

 21.    Plaintiff Arthur Pugh is a citizen of the United States and   a resident   of Syracuse,

New York.

22.     Plaintiff Tina Rosa is a citizen of the United States and   a resident   of Syracuse,

New York.

23.     Defendant City of Syracuse is a municipality and political subdivision of the State

of New York incorporated under the laws of the State of New York.

24.     Defendant Greater Syracuse Property Development Corporation is an entity

authorized by the laws of the State of New York and was established on March 27,2012

by intermunicipal agreement between the County of Onondaga, New York and City                   of

Syracuse.

25.    Defendant Stephanie Miner is the elected Mayor of the City of Syracuse. She has

held that position since January 1, 2010 and at all times relevant to the issues in this

litigation.

26.    Defendant David DelVecchio is the appointed Commissioner of Finance of the

City of Syracuse. Defendant Miner retained Defendant DelVecchio in that position

upon taking office on January 1,2010.

27.    Defendant Katelyn V/right is the appointed Executive Director of Defendant

Greater Syracuse Property Development Corporation. The Board of Directors              of
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Defendant Greater Syracuse Property Development Corporation is charged with

appointing that entity's Executive Director.

28.    Defendant Vito Sciscioli is the Chair of the Board of Directors of the Defendant

Greater Syracuse Property Development Corporation. Defendant Miner appointed

Defendant Sciscioli to that position upon the creation of Defendant Greater Syracuse

Property Development Corporation.

29.   Defendants are state actors within the meaningof 42 U.S.C. $ 1983.

IV.   LEGAL BACKGROUND

30.   The Syracuse Tax and Assessment Act, Syr. Rev. Gen. Ord. ç 19-26, et seq.,

outlines the methods through which the City of Syracuse may seize a parcel of real

property for alleged unpaid taxes.

31.   Any tax debt that is over six months old may trigger the tax seizure process. 1d at

$ 19-46. After the expiration of six months, the commissioner of finance is required to

publish notices in one newspaper once per week for two weeks stating the amount of

unpaid taxes, fees, and penalties, that the subject property will be sold at public auction

if that amount is unpaid,   and stating the dates for a redemption period.

32.   After the expiration of those two weeks, the commissioner of finance may sell the

property at public auction.   Id.   The commissioner is required to "bid in" on the property

on behalf of the city in an amount sufficient to satisfy the alleged back taxes, fees, and

penalties on the subject property.

33.   The sale of the subject property triggers a one-year redemption period during

which the delinquent homeowner may pay the amount of unpaid taxes, penalties, and

fees to reacquire the   home. Within 60 and 30 days of the expiration of the redemption
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period, the City of Syracuse is required to send the affected homeowner notices stating

that the subject property will be transferred by tax deed to the City of Syracuse at the

expiration of the redemption period.

34.    After the expiration of one year, the commissioner of finance may transfer      a


property acquired through the "bid in" process to the City of Syracuse through the

issuance of a tax deed to the   city. Id. at $ l9-46(8).

35.    The City of Syracuse may then dispose of the property to any public or private

entity or individual through any means authorized by the city. Id. at $ 19-46(9). As is

an issue in this matter, the City   of Syracuse may then transfer title to the property to the

Land Bank through a vote of the Syracuse Common Council. Local law states that the

City of Syracuse may dispose of any property it acquires through tax deed in any

manner approved by ordinance of the Common Council and the approval of the mayor.

Id.

36.    Syracuse City law also allows for the sale of tax liens to private third-parties.

Upon information and belief, the City of Syracuse regularly sold tax liens to for-profit

corporations, including entities known as American Tax Finance ("ATF") and Guardian

Law between approximately 2007 to 2012.

37.   New York State Nolfor-Profit Corporation Law allows municipalities to establish

land bank programs for the acquisition and sale of local property. N.Y. CLS N-PCL          $


1600, et seq. ("Land Bank   Act"). The pu{pose of the Land Bank Act is to "facilitate the

return of vacant, abandoned, and tax-delinquent properties to productive use." Id. at      $


1601. The Land Bank Act allows municipal entities to transfer real property to a land

bank and allows for a land bank to then sell that property.
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 38.     The Greater Syracuse Property Development Corporation ("Land Bank") was

 established through an intermunicipal agreement between the City of Syracuse and

 Onondaga County on March 27,2012. A copy of this intermunicipal agreement is

 attached hereto as Exhibit   "A" to this Complaint. The agreement broadly states that the

 Land Bank has all "powers necessary to carry out and effectuate the purposes...of the

 Land Bank Act..." Ex. A at $ 5.01.

 39.     This intermunicipal agreement governs the procedures of the Land Bank. It does

 not provide for any procedures for contesting its acquisition or transfer of property. The

 agreement also makes no mention of returning excess funds from the sale of property

 above the taxes, fees, and penalties to compensate the original owner for equity he or

 she accumulated in the home.

 40.     The members Board of Directors of the Land Bank are appointed by the elected

 officials of the City of Syracuse and Onondaga County.

V.       FACTS SPECIFIC TO              ,ATNTIF'F'TINA ROSA

4l   .   Plaintiff Tina Rosa is   a resident   of Syracuse and lives with her family at 207

Davis Street. She is the former title holder of 204 Davis Street in Syracuse, the property

at issue in this matter.

42.      Ms. Rosa purchased 204 Davis Street in September 2009 for approximately

$20,000. She purchased the home with the intention of using it as a rental property to

supplement her income as a school bus driver.

43.      Ms. Rosa paid the full purchase price at the time she purchased the property. She

never had a mortgage on that property. At the time of closing, Ms. Rosa received a

warranty deed stating that there were no outstanding liens on the home.
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44.      Ms. Rosa paid her local taxes on the property and was current on her taxes at the

time the events at issue in this matter began.

45.      On December 8,2015,the City of Syracuse Department of Finance sent Ms. Rosa

a letter stating that her property had $889.92 in unpaid taxes, plus interest, fees and

penalties. The letter further stated that Ms. Rosa had 30 days to pay the amount

demanded or her home would be transferred to the City            of Syracuse through the issuance

and recording    ofa tax   deed.

46.      Ms. Rosa was visiting family outside of New York at the time this letter was sent.

She was unaware of the letter      until she returned to the areaafter the redemption date

stated in that letter.

47   .   Ms. Rosa was confused as to why the City of Syracuse was seeking unpaid taxes

on her home. She had paid her taxes on time and in person at the Syracuse City Hall. No

city employee had ever informed her of unpaid taxes when she appeared to pay her

current taxes.

48.      Upon information and beliel the taxes allegedly owed on this property were the

responsibility of the previous owner of the property. Despite issuing a wamanty deed

stating that there were no outstanding taxes on the home, the prior owner did, in fact, owe

a small amount of local taxes. Ms. Rosa was led to believe that no taxes were owed and

that the property was clear of any such encumbrances.

49.      Faced with the prospect of losing her property and a primary source of income,

Ms. Rosa again visited Syracuse City Hall with the intention of paying the amount

demanded in the December 8         letter.   She was   told that the home had been transferred to

the City of Syracuse and the Land Bank and there was nothing she could do.
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50.        On March, 23,2016, Ms. Rosa filed a notice of claim against the City of Syracuse

alleging that the City of Syracuse's seizure of her home was an unconstitutional taking

and that her due process rights were      violated.   She was deposed   in connection with that

notice of claim on June 24,2016. The Syracuse City Attorney's office ultimately denied

her claims.

51.        Ms. Rosa has suffered financial and emotional harm as a result of the defendants'

actions.

52.        At the time her property was seized, Ms. Rosa rented that house to a tenant for

$1,000 per month. She has lost that source of income. Ms. Rosa has not been allowed to

enter the house since    it was seized.

VI.        FACTS SPECIFIC TO PLAINTIFF ARTHUR PUGH

53.        Plaintiff Arthur Pugh is a resident of the City of Syracuse and lives at 106

Elmwood Avenue, the property at issue in this litigation. Mr. Pugh is a disabled veteran

of the United States Army.

54.        Mr. Pugh purchased the subject property for $8,500 in2003. He later fell behind

in his local taxes and then received a notice from an entity known as Guardian Law that it

had acquired tax liens on his home. Mr. Pugh contacted Guardian Law and began

making monthly payments in the amount of $570 to satisff his tax burden. Mr. Pugh

regularly made these payments, believing that he was working to eliminate his tax

burden.

55.        Mr. Pugh believes he paid approximately $25,000 to Guardian Law.

56.        On October 28,2014, Mr. Pugh received a notice from the City of Syracuse

Department of Assessment stating that he owed 527,849.48 in delinquent taxes for the
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years2007-2012. The letter further stated that Mr. Pugh had 60 days to redeem the

property by paying the full amount allegedly owed.

57.    Mr. Pugh believed this amount was an error and visited the Department of

Assessment to challenge that amount. He was unable to receive a clear answer as to why

he allegedly owed this amount despite his repeated payment on delinquent property taxes.

58.    On February 10,201,5, Mr. Pugh received a letter from the City of Syracuse

Department of Neighborhood and Business Development informing him that his home

was scheduled for tax foreclosure. It stated that the Syracuse Common Council was

scheduled to vote on transferring his property to the City of Syracuse in "May of 2015."

No more specific date was given.

59.    Mr. Pugh later received another letter nearly identical in substance to the letter   he

received on February 10. This second later was dated June 2, 2015 and stated that the

Common Council would instead vote on the transfer of his home on July 13,2015.

60.    Mr. Pugh continued to contest the amount of taxes that he allegedly owed.

61.    According to Onondaga County property records, Mr. Pugh's home was

transferred to the City of Syracuse on November 6, 2015 and then to the Greater Syracuse

Property Development Corporation that day.

62.    Mr. Pugh's home is now owned by the land bank. Mr. Pugh was never given          an

opportunity to challenge the amount of taxes allegedly owed prior to the transfer of his

home to the Land Bank.

63.    On December 16, 2015, Mr. Pugh filed a notice of claim against the City of

Syracuse alleging that he had lost approximately $49,000 in equity in his home when     it

was transferred to the City of Syracuse and then the Land Bank. He outlined numerous
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attempts to resolve this matter with the City of Syracuse and his belief that the amount   of

taxes owed was much lower than what was alleged.

64.      Mr. Pugh underwent a deposition in connection with his notice of claim on March

2,2016 at Syracuse City Hall. As of the date of this action, Mr. Pugh has still not been

given the opportunity to contest the amount of taxes owed. Neither has the Defendant

City of Syracuse offered any payment on or resolution of his claim.

65.      Mr. Pugh is now in danger of being removed from his home. The Land Bank has

initiated a summary squatter proceeding against him in Syracuse City Court. The Land

Bank may now acquire a warrant of eviction allowing the Syracuse City Marshal to

physically remove Mr. Pugh and his possessions from the premises as early as September

8,2016.

VII.     CLAIMS FOR RELIEF

                               FIRST CAUSE OF ACTION

CLAIM PURSUANT TO THE FIFTH    F'OIIRTEENTH AMENDMENTS                                   OF'
             THE UNITED STATES CONSTITUTION

66.      Plaintiffs repeat and incorporate the facts and allegations contained in paragraphs

1   through 65.

67.      Defendants are state actors within the meaning of 42U.S.C. $ 1983.

68.      By taking private property without compensating homeowners for any equity that

has been accumulated in that property, Syracuse City Tax and Assessment Act violates

the Fifth Amendment of the United States Constitution as incorporated to the States

under the Fourteenth Amendment of the United States Constitution.

69.      Syracuse City law provides no mechanism for compensating private homeowners

for the value of their property above the amount owed in unpaid taxes, penalties, and
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fees. Regardless of how much equity a property owner holds in his or her property or

how minor a tax obligation may be, Syracuse City law provides that the City may take

that property and transfer it to the Land Bank without compensating the homeowner for

that equity which has been seized by the City of Syracuse.

70.     Further, the intermunicipal agreement governing the actions of the Land Bank

provides that the Land Bank may ultimately transfer any such property to a private party.

That private party then acquires the equity that the initial homeowner had accumulated in

his or her property.

7I.     Equity in a home is a property right that may not be taken without just

compensation pursuant to the Fifth Amendment of the United States Constitution. For

instance, equity in private property is a partial interest in that property that is subject to

distribution in family and probate proceedings.

72.     Further, the ultimate transfer of property to a private purchaser to the ultimate

benefit of that private purchaser through the Land Bank process violates the requirement

that a government entity may only take private property for public use.

73.     While enforcing local tax laws is a legitimate exercise of government power in

the public interest, the taking and transfer of amounts of equity that are above and beyond

the amount of public debt owed destroy any relationship between the seizure of private

property and the public interest that seizure is intended to serve.

74.    For the reasons stated, the Syracuse Tax Assessment Act and the procedures

governing the actions of the Land Bank violate the Fifth Amendment of the United States

Constitution.
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75.     The Syracuse Tax Assessment Act, the policies and procedures governing the

Land Bank, and defendants' actions pursuant to these local laws and policies have

deprived plaintiffs of their right to just compensation for the taking of their properties.

76.     Plaintiffs have been damaged by the loss of their homes and any equity in those

homes through this unconstitutional exercise of government power.

                                SECOND CA         OF'ACTION

     CLAIM PURSUANT TO PRO      I, DIIE PROCF],SS RIGHTS AS
   GUARANTEED BY THE FOURTEENTH AMENDMENT OF THE UNITED
                                 STATES CONSTITUTION

77.     Plaintiffs repeat and incorporate the facts and allegations contained in paragraphs

r-76.

78.     The Fourteenth Amendment of the United States Constitution prohibits any

government entity from depriving an individual of property without due process of law.

79.     Defendants are state actors within the meaning of 42 U.S.C. $ 1983 and acted

under the color of state law.

80.     Individuals have a property interest in their homes and the equity that they have

built in those homes.

81.     Syracuse City law and the procedures goveming the actions of the Land Bank

lack sufficient procedural safeguards to protect those property rights.

82.     For instance, there is no opportunity for a homeowner in the City of Syracuse to

challenge the amount of taxes allegedly owed once the tax foreclosure process has begun.

Rather, a homeowner's only option is to pay the amount of alleged unpaid taxes, fees,

and penalties or risk losing their home. There is no formal procedure allowed for the
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presentation of evidence and witnesses before an impartial party to determine whether the

amount allegedly owed is correct.

83.      There is also no opportunity to challenge the propriety of the procedures followed

in the tax foreclosure process, the tax seizure process, and the process oftransferring the

subject property to the Land Bank. A homeowner who did not receive the notices

required under Syracuse City law has no opportunity to make such an allegation in a

formal process prior to the seizure of his or her home.

84.      As such, Syracuse City Law and the procedures goveming the Land Bank deprive

city residents of property without procedural due process. These local laws and

procedures, therefore violate   plaintiffs' procedural due process rights pursuant to the

Fourteenth Amendment of the United States Constitution.

85.      The Syracuse Tax Assessment Act, the policies and procedures governing the

Land Bank, and defendants' actions pursuant to these local laws and policies have

deprived plaintifß of their right to procedural due process.

86.      Plaintifß have been harmed as a result of this unconstitutional deprivation of     due

process.

                                THIRD CAUSE OF ACTION

       CLAIM PURSUANT TO SUBSTANTIVE DUE PROCESS RIGHTS AS
     GUARANTEED BY THE FOURTEENTH AMENDMENT OF THE UNITED
                                STATES CONSTITUTION

87.      Plaintiffs repeat and incorporate the allegations and facts contained in paragraphs

1   through 86 above.

88.      Defendants are state actors within the meaningof 42 U.S.C. $ 1983 and acted

under color of state law.
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89.     Plaintiffs have   a   property interest in their homes and the equity they have built in

those homes.

90.    The Fourteenth Amendment requires that government action depriving an

individual of   a protected   right must, at a minimum, be rationally related to a legitimate

government putpose.

9I.    There is no question that the collection of local taxes and the enforcement of local

tax laws is a legitimate government interest. However, the methods through which

defendants attempt to protect those interests are not rational.

92.    Syracuse City law, as discussed above, sets no minimum amount of unpaid taxes

that may trigger the seizure process. There is no requirement that the alleged tax debt

bear any relationship to the value of the property that the City of Syracuse     will acquire

through the tax seizure process. The City of Syracuse may seize property and transfer           it

to the Land Bank for any amount in unpaid taxes.

93.    For instance, Plaintiff Tina Rosa lost her home for a debt of less than $1,000. The

City of Syracuse then acquired her property, which is worth many times that amount, and

transferred it to the Land Bank.

94.    The seizing and transferring property for debts that can only be described as de

minimis bears no rational relationship to the interest of collecting taxes and enforcing

local tax law. Defendants may serve those interests through any number of other means,

including private civil actions to seek monetary judgments for alleged unpaid taxes.

95.    Further, there is no requirement that the affected homeowner have been the

individual who actually accumulated the alleged tax debt. Syracuse City law allows for

the seizure and transfer of homes for unpaid taxes that were accumulated by a previous
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owner, even where the affected homeowner has paid all taxes since acquiring the

property. Taking of property from an individual who is in compliance with local tax laws

for another individual's violations of those same laws is not a rational method through

which to enforce them.

96.      As such, Syracuse City law violates Plaintiffs' rights under the Fourteenth

Amendment of the United States Constitution.

97.      The Syracuse Tax Assessment Act, the policies and procedures governing the

Land Bank, and defendants' actions pursuant to these local laws and policies have

violated plaintifß' substantive due process rights.

98.      Plaintiffs have been harmed by this unconstitutional exercise of government

power.

                             FOURTH CAUSE OF ACTION

    CLAIM PURSUANT TO ARTICLE I, 8 7 OF THE CONSTITUTION OF THE
     STATE OF NE\ü YORK FOR THE TAKING OF PRIVATE PROPERTY
                   WITHOUT JUST COMPENSATION

99.      Plaintifß repeat and incorporate the facts and allegations contained in paragraphs

1   through 98.

100.     Article I, $ 7 of the Constitution of the State of New York   states that   "[p]rivate

property shall not be taken for public use without just compensation."

101.     Plaintifß have a property interest in their homes and their equity in those homes.

102. As discussed     in plaintiffs' First Cause of Action, supra, Syracuse City Law and

the procedures governing the actions of the Land Bank provide no protection of a

homeowner's equity in his or her home.
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103.     The City of Syracuse and Land Bank acquire any equity in the home above the

amount of unpaid taxes, fees, penalties, and interest required to redeem the property. The

homeowner received no compensation for that lost property.

104.     As such, Syracuse law and the procedures governing the Land Bank and

defendants' actions pursuant to those local laws and procedures violate Article I, $ 7   of

the Constitution of the State of New York.

105.     Plaintiffs have been harmed by this unconstitutional exercise of governmental

power.

                              FIFTH CAUSE OF ACTION

  CLAIM PURSUANT TO ARTICLE I. 6 OF THE CONS TITIiTION OF'THE
  STATE OF NE\il YORK FOR VIOLATION OF PLAINTIFFS' DUE PROCESS
                                          RIGHTS
106.      Plaintifß repeat and incorporate the facts and allegations contained in

paragraphs I through 105.

107.     The New York State Constitution guarantees that the government may not deprive

an individual of property without due process of law.

108.     The laws of the City of Syracuse and procedures governing the actions of the

Land Bank deprive homeowners of their property interests in their homes without the

opportunity to be heard regarding any disputes regarding the transfer of that property.

109.     The Syracuse Tax Assessment Act, the policies and procedures goveming the

Land Bank, and defendants' actions pursuant to these local laws and policies have

deprived plaintiffs of their due process rights under the New York State Constitution.

110.     As such, defendants have deprived plaintiffs of property without basic due

process safeguards in violation of the New York State Constitution.
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1   11.   Plaintiffs have been harmed by this unconstitutional deprivation of their due

process rights.




                                  PRAYER FOR RELIEF

V/HEREFORE, the plaintiffs respectfully request that the Court:

     a.   Assume jurisdiction over this matter;

     b.   Declare pursuant to 22 U.S.C . ç 2201that defendants' acts and omissions violated

          Plaintiffs' rights under the Fifth and Fourteenth Amendments of the United States

          Constitution;

     c.   Declare pursuant to 22 U.S.C . ç 2201that defendants' acts and omissions violated

          Plaintiffs' procedural due process rights as guaranteed by the Fourteenth

          Amendment of the United States Constitution;

     d.   Declare pursuant to 22 U.S.C .   S   2201that defendants' acts and omissions violated

          Plaintiffs' substantive due process rights as guaranteed by the Fourteenth

          Amendment of the United States Constitution;

     e.   Declare pursuant to 22U.5.C. ç 220I that defendants' acts and omissions violated

          Plaintiffs' rights to compensation for government takings as guaranteed by the

          New York State Constitution;

     f.   Declare pursuant to 22U.5.C. ç 220I that defendants' acts and omissions violated

          Plaintiffs' due process rights as guaranteed by the New York State Constitution;

     g.   Enter preliminary and permanent injunctive relief in the form of an order

          prohibiting Defendant Greater Syracuse Property Development Corporation from
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        selling, granting, or otherwise transferring 106 Elmwood Avenue and204 Davis

        Street, both located in the City of Syracuse;

   h.   An order requiring that Defendant Greater Syracuse Property Development

        Corporation convey 106 Elmwood Avenue to Arthur Pugh and 204 Davis Street

        to Tina Rosa;

   i.   An order preventing Defendant Greater Syracuse Property Development

        Corporation from evicting Plaintiff Arthur Pugh from 106 Elmwood Avenue;

   j.   Award Plaintiffs damages in compensation for the injuries alleged herein;

   k.   Award Plaintiffs reasonable attorneys fees and costs pursuant to 42 U.S.C. 1988;

        and

   l.   Grant any other relief that the Court deems necessary and proper.




Dated September 13, 2016
       Syracuse, New York



                                       Respectfully submitted,




                                             *J
                                       Samuel C. Young
                                                         C.
                                                                      8e16)
                                       Adam R. Crowley (              pending)
                                       Legal Services of Central New York, Inc.
                                       221 South Vy'arren Street, Suite 300
                                       Syracuse, New York 13202
                                       (3ts)703-6s00 (r)
                                       (31s)703-6s20 (Ð
                                       sarnyoung@lscny.org
                                       acrow            org
                                       Attorneys   for Plaintffi
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               Exhibit
                        66A))
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                  INTBAMUNI CIP"4.L ÁGß$SMENT


                             BET\¡¿gËN


                       CINSNTÅGÀ COUTT¡TY


                                JTNT)



                      T}IE CTTYüF SVRÀCT}SE


                    FOII THË CNE-ô.TION OF'îHE


    GRßÁ,TAR ñYRÅCUSã PROTNRTY PAV$LOPMßIIIT COR}ORÁTIÛN

                        {aNew Yark Land Bank}




                                  I
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                                                 I}REÅMgLE
        'l"his intermun1ç¡pq!--s$gemeåt made and entercd intt..this                    ry\- * þ4,
2û12f',4greåme:rt'] r*ãäl it,ir ¡icw yoi* l.*n¿ Ëank.4,ct, ¡\rtåele 16 af the New Yr¡rk Not-f*r-
Prcfit C*¡p*r*ùi*n Law, brtwecs üIì{OI'{I}AGÄ CÕU¡{TY {hereina{ter the "Coun{y'} and ïhe
CITY SF SyItACIJSn {hereinafler fhe 'oCily"} {hercinaft*r collrctiv*ly referrsd tc as the
"Parties"] for the purpelse of establishing and meating lhe GRHåTBR SYRÁ.CüSE
pA.(}rnnTY DEVELfIFMEHT CCIRfffRÁ,TIüN, å type C n*t-f*r-prnfit corporati*n tn
*dminister and implement th* purp*se* and obje*tives of this A"greement.

                                                  RREITILLf4

        WIßRËA$, in oRn*ting the New York Land Bank ,4ct a* Articl* 16 cf thc ltiew Y*rk
Not*for*Frolit Carporation Law {hcrcinafier the "Land Sank A*l'}, t}re Legislature found rhat
thcre sxisls in the state of Ncw York ¿ c*ntinuing nesd tç strength*n and revitalize the êcofiÕrÌìy
uf tkc state cf New York aud **mmunitio* in lhis st¿te ând that it is in the b*st interests sf thô
sfate af New Y*rk *nd ce¡mrnunities in lhis *tate tc c.c¡rfr*nt the problems causcd by vac*nt,
abândcned åÉd tâx d*linquolit prop*rtics ûrough 1he ereaticn af land banks in * cacrdinated
mânner to fcster thc rlcvelnpm¿nt of that property and la promote ecnnnmíc growtlt;

       WHERÐÄ,$, $ I6t1 cl tb.e l.and Rank Act parmitt &rly Õr åny tws *r mrlre fareclosing
gÕvemrnental units to entcr inta an intergavemrnental eaaperatisn agreer*ent to est¿blich c land
bank.;

      1Ã/HIìRE/!S, thc Farties herein agree            tlat tlie sstablishr ent nf a land bsnk wr:trld be
ben¿äcial t* t}:c Farlies ar:d 1o the eitixens         *f bnth the City r:f $yracus* and thc tcunly af
ûnondag*; and

       IVHHRß,{S, ths Parties desire to ueata thc {ireate¡ Syracuse I'roperly l}evelcpment
Coep*ration *8 a t]rpê * not-for-preilit corparafion t* operat* ar a lånd bank in ascordnnse with
the tcnd lì*nk Áct and to sxçrciso th* pr:uers, duti*s, funelions, and rcspcnsibiliticc of a lând
bank undcr the Lånd Bank ,{ct"

           .4,ccordingly, the Farties sgr*s te the following:


                                                  ÅRTTCI,Ë    I
                                                AET.INITTO}.{S

           Â.s used   in this Agreement the frllorvinå lsrms *h¿ll have the nsanings provided in this
Article.
                             (Bo¿rrd                                           the B*srd ol l]irectCIrs sf thc
           $ecfÍon l""ûtr,             of liirectors" or 'utoår¡Io'   me&trs
Land Beñ'k,

           $cction 1.{12. "Agrsemont" means this interrnunicipal agr*ement betwecn drp Parties.




                                                        ?
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        $ectian 1.{13. "Bffective DatC' msan$ the date upnn which nll of the following årt
s*tisfied:

        (a)          tirc A[reement is approved by resoluiion of   the Onorrdaga Countji Legislãlwe;

        ih)          fhe Å"greernent is approved hy Õrdinance   *f   the Contmon Corwrsil of ttrc City   of
                     SYra*use; and

        {r}          the crsatian  af the treater Syracusc Propcrty üevelopment Carpor*tio¡ is
                     approved   by the Empire State ÏJe\¡el*pment Corporation in acc,ùrdance with
                     Sectio* 16û3{g) of the Land Bank ¡lct,

       $e*tion I.04. i'Fiscal Ye*r" m{åns the fiscal year of the Land Barrk, whick shall b*gin
on January 1 *t af eaeh ye*r and end on :he fallnwing Ðecember 3 lst.

        Sccti.ln 1.üS. "Lslrd         }*nh Aet" lnsåns Artie,le 16 af the New Ysrk Nç1,fur-Pr*ñt
Corporation Law and as           it may be hereañer arne,nded or replaced, subjoct to the pravisions of
$cctirrn   1û. 1 I   sf this "A.greement,

       ScetÍur l.û6. *Land Bunkt' rnÉân$ the type c nol*for-pro{it carporatian esfablish*d
pur*uanl to and in aeccrdance with the provisionc of this Ägreement and kncwn as the ßreate¡
$yracusc Fr*perty llevel*pmenl C*rpomlion.

        $ectÍcn        l.û?. "Pärþ" or "Farti*s*' n1råns either individually or s:llectively,            as
applioable,    tlr*   Caunty of ün*ndaga and/ar the City of $yracuse"

       Seetirn l-{18. "lter$ün" rnÕan$ an individual, authority, iirniÞd liabilify c*mpeny,
partner*hip, fîrÍl, coqp*ration, *rganizati*n, assc*iati*n, j*ìrit vsnture, trttstr &overffnentetl entþ,
or sthsr legal entity.

        Scctirn l.{}9. o'Quorumt' rnean* a maiority üf the nîsn¡bs.rs clf the Board, not ir:cluding
vacancics.

        $ectirn           'iRe*l Proper$'u meâns *ll lands axd the buìldings lhereÕn, all things
                       1.1{1,
permånÕntly      alfached t* land or to ths buildings thereon, and any interest existing in, issuing cut
oli ar dependent upnn lan* ar th* buildings thereon.

       $cction 1.11, o'T¡x Detrinqucnt Prop*rty" msâ¡rs roal prcperty er:cumbered by a*
outstanding fnx lien for a delinquent tax as delhr*d in Ssction 110? *f the New York Real
Properly Tax Law, or such other gcneral, speci*l ot local lawt as may bc applicable tû thc
propcrty tax errforcement procedurss af the P¿rtiçs,

        $eetür¡n      1.1!. "St*te'* meilts thc state ofNew YÕrk.




                                                       J
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                                           ,4.RTICLN    il
                                             rURPO$i
         Section 2.ü1. Purpase. The purpÕss of thi*.Agreement i* to create ths ñr*nter
Syra*usc Propcrty Dcv*lapment Corp*ration to heip address thc Farties' problems regarding
vacanl ard abaridoxed pr*pcrty jn * co*rdinated nanner *nd tc further f.oste¡ the development
af such property and promate economic grcwth thraugh fke return of va*ant, abandaned,
and tax-delinquent prope*ies l* ¡:roductive use.

      $*ctirn 2.û2. Prwerc *nd Functionr. 'J"he Creater Syracuse Property llovelopment
C*qporafi*n shall have all of thûse p$ÌH*rs, dutics, frrnctions, and responsihilities autharised
pursllârt to the Land Bank Act.

                                           ARTICLE ÏTI
                                  çRIrÀTIgl{    SF'   L,tNn ËÄNK
       Scetion 3.{11. CrsrlÍ*n and Leg*l $úatu,q $f tsnd Ssnk. I he L¿nd lSank is establiskd
pnrsuant ltr the l"and Bank Àct as a type c nat-fnr-prolit eorporalion ttl l¡e kn*rnm as thc "Greater
Syr**use Properåy ü*velopm*nt Ccrporation".

        $erfio* 3.02. By-L*wso and Falici*s nnd Procçdures. The Board shall adopt by-laws
consisferit wíth the ¡:r*visi*ns of this Ågreenent a$d rle ï.and Bank Acf rvithin frr$y-fìve (45)
days of the Hffeetive Ilale. The Boård shall adcpt policics and pr*cedures eonsis{,snt with ths
provisi*ru *f this Agrcement and ths Lnnd Bank Åct within nincly {90) days of thc llffbctivc
Dnte.

        Sselion   3-û3, Prlncipal ûfficc. The principal        offi.ce   of the Lard llar¡k shall be
deter¡nined by the Bo¿rd but shall älw*1's be irt a localicn withi¡r the gcograplrical bnunclarictof
th* üity of $yraouse..

        Stctior 3.ü4. Titl* tc L*nd llnnk Åssetc. All Rcal ?roperty held in f*e by the Land
Bank xhall be held in its cu¡:r nam&.

        Section   3.t5. Tax-Ilx*mpt Stntus. 'l'he Parties intend thc activitics af the Land l3ank tcr
be gov*rnment¿l functio$s c.ärriç.d aut by an instrument*lity or political subdivísion of thc Stale
a* ds.scríbcd in seetion 115 rf I'ítls ?6 of the United St¿tes Inlsrnal Revsnue Cod*, CIr âny
*orrespnnding provisions rf any future tax code. The Real Froperty of ihe l-and Rank and all of
thc Land llank's incnmc and *pera{ions shail b* exempt from all taxation by the Stal* af New
York a¡ any of its p*litical subdivisians.

       $*ction 3.Sõ, [xtinguishment af înxe.* snd Åss*s*mentr, Upon tåc reguest of the
Land Bank and for the purpos*s of fosto:ing the g*als and objectivss *f tJre Land Bank, any
Purty, at its aption and in itç discretiûn, mäy extinguish any Real llrcperty ?sxes *r sperial
&sstls$msnts leviad by that Parly against Real Property owncel by Xh* Land Bank.

        Seetíon 3.0?. Compliance with Law" The Land Bank shall eornply with ail fbderal,
State, and local laws, ordinanrås, rules, regulation*, ¿nd ord*rs npplicable to this Agreement"


                                                  4
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         $ection 3-08. Relaticn*hip af fsrtics, The Parties agre* that the *ounty *hall nct be
r*.spt:nsible, in whale err in part, for the acß of the employees, ag*nts, and scrvants of the Cìty,
whethsr $tllg separat*ly.g¡ r¡1.qç-ry.1¡pgti!g*yi&!h* trypl*gfqJ4tiq¡r nft¡js-,4.greement, and that
the Cily shall not be re*p*nsiblo, in whoTø or in pa*, fo¡ thc acts of the employees, agentso and
sorvãnts of th* Counly, wketker aeting saparately or in coujuncticn with the irnplernentation çf
{his Agreement. The Partìes shall *nly be f}nund and obligated u¡rder this Agreement as
e.xpre*sly agrced to by eaeh Farty. The Land llaríc shall not cbligate tit* fity or thc County nor
shall any r:bligatial of the Land Bank cnnstitute an cbligation af the City ar the Cnur:ty.

         $ection 3.t9, No Third-FarS Seneficitrie*" IJxcept as athcrwise specifically provided,
thi* Agreement does n*t c.reate, ìs n*t intcnded ts *reate in any non-Pafiy, by implication cr
ûtharç¡isa, any dircct *r indircçt trcncfît, abligatiaq duty, prnmie** riglrt t* b* indemnifi*d {*uch
as çontrå*tually, leg*l1y, equit*bly, or by implieation), riglrt to be subrogated to arry Fndy's
riglrts under thìs Ágreement, andlor any cther rigltl or bencfit,


                                          ÅRTICLE IV
                       n0*3p1 FlsrlçurrvqåJftäcrpR ÀNr srÁrq
        $ectioø ,{.01, Børd Compo*iti*n, 'Ihs ï.,and ÏSank shall be gaverxed by a Board of
Direct{:rs consisting of fiçe m*lnbers. Eash mcmbsr sh*ll serve with*r$ compensation" Sach
member shall continì¡e to ssrve until the appointrnent arrd qualificaticn of his $r lrar suecsssor,
Vaceneiec ín thc þ*ard o*cuning *thenvi*ç lhan by expirafion of term slnll bn filled f*r tTrc
rrnexpired ten*,
          ?he rnsmbc¡s *f thg åaard shall be appointed a* {bllows:

       {a}     ûn* (1) mçmbçr shall bc appointcd by the C*unry äxacutive              *f Oneindaga
               Caunty;

       (bl     CIne     member sliall be app*irrt*d by the Chairm¿n çf the ûnnndagn Courtty
                      {l}
               Legislature, and canfirmerl by the fin*ndaga C*unty Legislfrture;

       (c]      Õne {1} membçr shall be appoinfed by Mayar of the City erf ,ïyracu*e;

       (d)      fJne member shall   beappointed by thc Majority Leader of thç Cam¡¡ron Council
                of the City af Syracus* and shall be. confirmed by the Comm*r¡ C*unt:il nf the
                City af Syraeuse

       (c)      One {1} member shall be jclintly nçminated by tirc }vfayerr of the City   of Syracuse
                                       of ünondaga Crunty and shall be confir*rcd by both
                a::d the eounty Ëxeeutive
                the Comrnolr Coun*il af the City *f $yracuse and the Onond*ga County
                Legislature.
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        Se*tion 4,*2. Iuitial illember*. The lirst t*rm of the lïrst lloarcl mwtbers ¡;hnll
ssnlrïsnce on the datc of the first Bc¿rd meeting. Th* itritial Jvlcmb*rs olthe Board of tlæ Land
Eank shaltr be:

        {a}    Appointed by the County Bxscutive of ûnondaga Ccunty:
                    1) Mary Beth Prirno, for a tern of two (?) ye*rs; and

        (b)    Àppainted by the Ch*irrnun of tha Õn*ndaga County Lcgislature, and c*nfirmed
               hy the ünnndaga County Logi$ature:
                     I) Ilaniet l}*rnaba, fur a lcrm r:f thrse {3} yecr*.

        (c)    .4,pyointed by the Mayor $f the City         cf Syrxcus*:
                     1) Vilo   Sciseioli, for a lcrr¡r of two    {$   years.

        {d)    Åppointed by theMajorityLe¿der of{heüomrx*n Co:rncil oftheCity of
               $yraouse and ocnlirrned by the Common L'cuncil of tlre City of Syracuse:
                    1) Dwight Þlicks, far a term of thlee {3) years.
        {e)    Jointly Nominated by Cnunty ü.xsc,utive *f Onondaga County, and the Mayor       of
               th* City *f Syracuss and c*nfir¡ned by both ths Cammo¡r Cauncil of the fìity    af
               Syrac,use ¿nd the ûncrrdaga C*unty f,egislaturc:
                     1)   James Corbetl,   f*¡   a l.erm   af three {3) years.

        $ectis* 4.û3 Tsrm uf Office. Bxeept for the terms nf the initial mamber* as outlined in
Section 4.û2, fhc memb*rs af the Ëoard appointed to suc*eed th* initial members sh¿ll hs
appainted &rr a tcrrn eif three {3} years. Each Scard member a{ ths. clection of his or kc¡
appointing Fxrty m*y sçrve a maxímum af tr¡ro full tsnxs in addition tr any partial tenn for
r¡,hich such msmber was appainlcd to filI a vaean{,y or ârly initial term that is less than a full
thre.e ye,ar term, ln the event SÍalc law i¡r amenrlecl to pr*vicl* for cliffnrent, l,crnts and/nr
eornposition of ths Board, then the Board as it exists at the time cf $rch arnendment shall b*
autharizxd tr¡ take my action req*ired such that thc Beiard *om¡rlies wÍth any requirements of
State law.

        Sestian {,0d. Qu*lifir:*tians. .¡1ll members of the Rc¡ard of thc I-and Bank shall all he
residcnts of the County of Onordaga. Memhers appointed in whol* by the Maycr of th* City of
Syracu*c, or ths Majorìry leader of the Common Caln*il of the City of $yracuse shall be
racidents sf thc. City of Syra*use. "lhe jaintly appointed me¡nber may be, but nscd not bq a
residenl ùf the City of Sy:acusc"

       Sc*tian 4.CI5 Remcvnl, El*¿rd nrsmbers may bc rem*ved by their appointing Pnrly for
negl*ct cf duty ur rnisc.c¡rduct i* cflîce ür $råy be renovcd^ pursuanl to a¡ty ather prcvi*ion rf
Ner¡¡ York l¿rry.

        ñ*cfisn 4,{i6. Vsc*n*Í*x" ,{ vacency ümCIrtg the nrernbers çrf tlrc Board appainted under
secti*n 4.S1, vrhether caused by the death, r*signatiein, r:r removal of a Bnard member, çhall hs
fìllëd in fhe sêntç rnan$çr as the *riginal appointm*nt far the balanse of the unexpÍretf tenn.
$ueh va*axcy shall be filtred âs rìöûrì as practicable.



                                                      6
    Case 5:16-cv-01123-LEK-TWD Document 1 Filed 09/13/16 Page 30 of 41




        $**tion 4.0?. M¡re.ting*. 'ihe lloard shall ccndurt its firüt me*ting nr¡ lalu than thirty
{3t) calendur clny* after the Effecfive Date. The B*ard shall meet al leasf *nnually ¿nd h*ld silch
ather nregtþgq af the pla{ç, datg, årld tjlne as thc Boani shall.dptgr..¡çi¡iç. - - . .,-".
                                                                                    "




        Se*tiou 4,{1fi, R**orde *f Meefingc- Ths Bcard shall main¿ain a writfcn rccord *f each
meeting. Á,ll meetingc öf the llaard *h*trl canrply lvíth thc pratisians *f Seeticr 1612(a) ol the
I*a*d Bank Á.st arrd be subjaet tcr the New Yark ûpen Meeting* Law and the New Yurk Frcedam
of Infomlatic¡n Law.

         $ectiorr l.S*. Quorum nnd Vcting, Fres*nce fe¡ bolh quünrm nnd v*ting ¿t * Bsar¿i
mceting may include eleetronis con¡¡nuni*ation by whi*h *uch memb*r of tlre Boartl is bsth ssen
snd heard by tht; mçmbers nf the Board and any members r:f tk* public *t the *r*eting. ,4.11
a*ti*ns cf the Bral* shall be approved by th*. afünnativs vqte af a majority *f tke nnembçrs        *f
the Baard prëssnt and r'*ting; pror.id*:d, h$wcver, no *cti*n of, the Board shall be outhorizcd sn
{he fûllcwi¡rg mattrrs unless approved by ama.iarity cf the total B*ard mernbership:

        {a} Adt4rti*n of hy-lnw* ånd other de.q and regulations fcr c.onduct of ths Land Hank'*
           business;

        (l:) Hiriüg *r frring of any emplcyee rr *ùntrå*tÕr qf thc l"and llank. 'fhis function måJ¡,
             by a majarity vr)ts *f the total Bcerd memhcrclrip, bc delogal*d lo *i xpecific cfficer *r
             co¡nmit"tee of the Land üank, uñder suuh ter¡** *nd cCInditi*n* *nd ta th* extenl, tbat
             the lloard may speeify;

        (*) The incuning of debq

        (d) .dd*ptian *r ¿rmendment *f ths anntal budge! and

        {e} $ale, leasq *nc.urnbr*üce, or alienatinn uf real plôpe$y- improv*nt*nts, ür pers*nal
            prop*rty.

        Sectisn 4.1$. Euard fi.e*p*nsikilifie*. .Ths Board sh¿ll have all p*wers neæ$sary tÕ
carry ouf and effe*tuate the purpasss and prcvisions of this Ågreenent ¿rnd thc Land Ëank Å.ut,
including all of th*ss pçwcrs seJ f$rfh in Ssction 1dü? of the Land Rank Å.ct.

        Se*tíon 4.11. Fidu*i*ry lluty. 'fåe members of ¡hc Board are under a fidnciary duiy tc
canduct {he sctivities and affsirs of thc Land l}ank in the b*sl iutcrsstx of t}re Land Bmk,
íncluding the safekee¡rìng and use of all Lsnd Bank manies and assets. ?he members of the
Board sh*ll dixeharge their dulies in gocd faith, lvith the c*re an *rdinarily prud*r:l pom*n in n
like positirn rv*uld cxercise und* similar çircum$tåRÈes.

       $*cfion 4"t!. Cnrnprns*tion" The melnbcrs of the ñoard shall servc. withaut
cornponsafion . The llo*rrd m*y reirnburse åny member far exprm*s acfuælly incurrcd it¡ the
performanee c:f duties an behalf of tke La*d Þãäk.

       S*ction {.1S. Ex*cnfívs }irector. The tr}cxrd nray *cle*t and r*tain an exesrtilç
directar- An "executir¡c direct*r selected ¿nd rctaincd by the Baard shall *dministcr thc Land
Bank irr ¿¿cÕrd¿nôe r.vith thc cp*raling budget ad*pted hy the Board, general policy gnidclíne*


                                                   7
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ostâhli*hed  by the 8narrl, ather applícable gov*rnrnantal ¡rro*edul*s ¡rncl perlicics. and this
"Agreement. The executiv* dirccfar *hsll be resp*nsíble for the d*y-to-day op*rations nf the
Land Bank,"thg..ç_q¡ftrçJ: tnanagrnr*rt,.ond av*rsigbt of lhç !,and Bank'$ futrolic¡Ë, ¿nd
sup*vision af *ll Lsnd B*nk emplnyees. .4"11 tsrms and canditians *f thc exeeulive dircctor's
length of servie* shall be speoifted in a written conlraçt b*twcsn thc exeeutive direcfor and the
Land Bank. The exscutivs dircctcr shåll serve at the pleasure of thc Board. Thc Board rnay
del*gale ta the. exeoutiv* diraotor åny pûw$$ or d*ties it cr¡nxirJers prûperr *ubject to tkr
*nn*lraints of l.and llank .A"ct, sncl unelcr $uch tsnrrs, conditi*ns and exlent that the Bnard nray
spe*ify"

        Ssctiûû. 4,14" Emplayeer. The Lend üafik rnay employ or atherwise e*ntrast for the
servise* of any stafl dccm*ci ncccss*ry tc cany aut fhe duties and respo*sibilitics çf the l."unel
*ank. Such sfafi mey be employcd as cmployc*s af the Land Bank* *r the scrviee* of ru*h staff
nray be r*lained pursuffif tÕ conx$rts with any Perty ôr cther puhlíe. or ¡rriv*te cntities.

        $ectÍ$n 4.15. Cr¡nflict* of lntsr*rt. I,{o Membø *f thc Bcard, *r empl*ye* e¡f the Lcnd
Ëank ch¿ll a*qnire any interest, direct cr indir*rt, in Re¿l Property of the Land Banþ cr in any
Real lreperfy fa be acquired hy th* La*d ll*nk, Ì.lei Me.mbçr r:f th* F*ard, cr employe* of'the
I-and Bank shall h$vs any Íntcreut, direet or indir*et, in any contra*t or pr*posed *ontr¿ct for
materials or ssrviêes t* ba furnished cr used l:y the Land ßank. Tho Ëoard ehall establish
pnlicies *nd procedures reqniring the dis*losure ûf r:elati*nships thât mây givø ris* tr¡ a cCInflicf
af inieresf and may adopr cthic*l g*ìdelinot for M*mber* of the Board and ernplcyees of the
Land Bank. 1'he ß*srd shnll requíre lfiat any me¡nb*r sf th* Bç¡ucl with ¿ direct or indireet
intere*t in any mattsr before the El*ard disclose the member's interest o thè Êt¡srd hsfur* th*
Ilaard tak*s any action *n the:nâtter.

                                           ÅRTTCLIÌ V
                                   f üwsKs     0l l r*Î-{L* $,}ï}Ë
        $ccficn 5.t1., Gener*l Pcwsrs Undcr Lnn* ß*nh ¡trcf. Th* L*nel Bank sliall havs all
thane power$ neces$ary   t* carry aut and sf,fectuate th* purposes and provisions of the Land Bank
Àct including, but n*t limitçd t*, all thase powers epecified under Sectian 16û? of tlrc Lantf llank
,4*t, and *ll those other p*w*m granted ta tand Banks Fur$uant tc fJre Land Bank Act çr other
$tålut0ry auth*rity.

       ffnctÍcn 5.ll? Purchsss cf T*x Lien*. Thc Land Fank niay aequire liens relafive ta Tax
Delínquertl Frcperty in aecnrdance rvilh Ssctian 1616 of the Lartd B*nk Ást.

        $c*tí*n Í.0å, Ex¿*ufi*n af Legal lloeunr*nts R*lafing fo Rcal Property. The terms cf
åny çrntrå*t Õr sgresment conreming fhe aals, lca*c license, easement, encurnbrânce, ar othsr
alienation af any interest in Real FrÕFÕr¿y, nr inprovements th*ret*r Õr ÞernÕnal praperty of the
Land Bank, slull be approvecl by lhe Bo¿rd. Á.,1 ÕantrâÊts af fir* Land Sank shall be *xecutçd in
the name of the Land Eank

         Scetiot 5.04. Civil Á.eåion to Frot*ct T,and l**nk llc*l Prtperty. Thc L*nd Bank may
instÍtute a civil aetí*n tÕ prev*nt, restrain, *r enj*in ths waste sf or unlawful rem*val of cny Rcal
Pr*perty h*ld by ths ì-and llank. The Latd Bank m*y alsc in*fitut* any *ivil asti$¡r t* prntect.


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s:eâr titlö ln, dstermine the rights of'px{ies   trr remor& lians from, cr tliat   are çtherwise. rclate¿l tn
the Real Fr*p*rty of the Land llank.
                        .Tr*n¡fer
        $**tlän 5,{15.             CIf Infeirsts in Kcgl Froperty by Lair* ß¡ink. 8n tcrms and
c*ndilione, in a maûRer, and for an amount tf cÕnsielevation tl¡e Lånd Ë*nk considers prÕper,
fair, and re*soüablc" irrcluding {ar na mcn*tary *on*ideration, the Land Bsnk may c*nvey, sell,
trânsf*r, exch*nge. iaa*e as lessor, sr oth*rwise dispase sfReal Fraperty ût figbts or interests in
R*al Froperty in whish thc Land Bank hol<is a legal interest tÕ ålly public or plivnte Fers*n
snbject ta the Public ,Autkorjlies 1.,&w, attd any other stalutary reqnirement*.

         Section 5.{16. Struclure of Conveynnces. Tran*acti*ns shall bc structured in * filûRner
th*rt pennits thc La*d Ba¡rk tc snforce crxtrac.tual *greetn*.nls, real *ovenanls, and.ths pravisions
of any subardinñte financing lr*ld by the Land Baxk pertaining to dcvclopment ånd us* cf th*
Rcal Pr*perty.

        Sertion S.{}?. Ilicpn*Ítion *f ?ror:ocds. Any prace*ds f'lom thç sale ar transfsr af Real
Pr*pefy by the Land Bank shall be retai*ed, exp*nded, nr transfened hy the Land Barrk as
deternìinðd by the Bonrd in the best inlcre*t$ cf tlre Land Eank and i* accardan*s with the l¿nd
B¿nk Aet.

                                            ARTTCLN VT
                                 }Tß$]:N   ICTIüNå ON PÛ1VEKS

        $ection 6.01. Eminent llomdn Frokibitctl. Th* Land Bank shsll neithsr püsses* nûr
excrciss {he pnwer Õf eminent domain.

        $ccfion 6.{12. Linritatirn on Political Àetivitiee. The Ï¿nd I}*rtk shall nût spend any
public û¡ndc $n political activities. fÍubje*t to the faregoing, this secfisn ís not irtÍ*ndçd ta
prahibit ths Land Rank from engaging in a*tivilies authslrivxd try a¡rplicable la1ry.

        $ccfion 6.û3. N* Waiver of ffr¡vernmcntnl Immunity, 'lh* fartics ågres. tlÉt ns
prcvision of $ic A"gr*cment is intended, ncr sbatl ít be csn*trued, as a w*iver by any Parly of any
govemmental immunity provided under *ny applicable lsw.

       Section ú.04. Non-Discrir¡rin¡rticn. Ths Land Sank shall cornply rryith all appti*able
laws prchibiting dixuimination,

         Secticn 6.ü5* åuildlng and l{ausÍng eod*g, Thc La¡id Sank shall ¡nahtai:r all Real
Irraperty held by ths l*and llank in *ccordanoe with atrrplieahle State laws and local codes.

                       .               Â.RTTCLr{VIT
                              $ooKs. BgeCIRllsl 4I.{p rlJT,êNÇ.Irs
        $ection ?.ü1. L*nd Bark Remnls. lhe Lilld Fank shall kocp anrl meinfain ¿t the
principnl of"fice of the Land ñank rll do*urnents and reçords of the Land Þank. ,{ll ¡ecords of
thc Land tiank subj*ct to åny ckirned privilege., shall be made *vailable lû eitker Pårty, including
t}re ûnondaga tounty Comptrollsrn and the Cìty A"udit*r of thç City of Ëyraeuse. The records



                                                      I
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 altd d$euments shall be mainl¿ined until tkc te¡minnti*n of this Agrcem*nt and shalt he delivered
 tt år1y sus*sssûr   entity.

        $eciíriifT.t2.' linbnôiâl $tat*iú8¡ri* and"Reþoir's. The L*rid Baht *hall ùãuse tó be
prepared, ¿t the ["ard Bank's exp$nsei audited Tinan*i¿l statements {balancc shccl, staternent af
revenus and cxpcnse, stâtçment of cash fiows, and ch*nges in fund bal*nce) on an amrual basis,
Such financial staternert¡ shall be prepared in accordance with generally accep{ed accounti*g
principles and accompanied by ¿ witterr opid*n of an irrdepsndsnt ccrtificd public accounting
{ìrm. The Land Bank            sh¿ll be *ubject to a*dit by the ofTicc     cf the stâtô oônrptrcller   in
accörd*nçs with Secti*n 16û3(hi of {h* Land i}ank.Àct"

       S*tlion 7.ü3. .4,nnual Budget. Ths *xecutiv* direclor, ()r ûtksr individual c{esignated by
the Bcard, shalf prepare annually a budgct for ttre Land B¿nh. ?'h$ ßoard shall yeview and
äpprüve a budgcl f*r tha Land åank írnmediatcþ pr*ceding each fiscal Y*s¡.

        flection ?,û4. D*positç and Investmcnfs. Th* Land Bank shall doposit and          invest   nds
of the Land &a¡rk, not otherwise employed in cartying cul tlie purlrses of the Lnnd Bank, in
ac**rdan*e witk an invsstneÍt policy cstablishsd by the Roard consislenf with laws and
regulatierns r*gardíng invesl.fient af Land Barrk funds.

        $ection      ?.t5. Dirbnrscrucnt*.    Ðisbursfinents of funds shall be in acørdancs 'ù'¡ith
guidelines sstablished by the Bnard.

        Section ?.û6. Psrfarmance Obj*etivcr. Ëach Ëiscal Year" thc *x*cutive tiir*ctcr, or
other individual dcsignated by thc Baard, shall prepare, foT rerriew and approval by the Board,
abjectives f'or tlrc Land Bank's performan*e.

       Sccfion 7.07. Rcnl Property lnvonfory R*c*rds. The l-and Bank shnll inventory all
Rcal prap*rfy  ora'ned, hold, crr dixpcsed of by th* Land ïlank. I'he inventory shall bç maintained
as a publir: rscurd untl shall he availâble i$ accalda$ce with Scctiùns 1608{lÐ und (i}. antl
S*ctions l6ü9{b) of t}e Land Bank ¡1ct,

                                            .A,RTTCI,}:    VUI
                                  rqND   HÌ G.åI{   } #åq$}Lr}r ru RE fr
        tlection 8.01.. S*elg*t Contributíons. While under nr¡ ohligati*n, the Farties may
contribute to the annual Land Bank hudget in such mânner as approved by ttre larty cr Partics

        flectirn  t.02. Issusncc of Sonds. The Land bank may issue, sell, and deliver bands in
accc¡rdance with the prnvisions nf Secticn l61 1 af thc Land Bank ¡lct.

         Section ti,ü3. Tax ,4.l1oc*tian" Upon the adaption c.rf a rcsÕlrrtion by the County
Legislature and I or the ad*ption of a ardinance by the Comm*n Council af tin City af Syracnse,
either party, or bsth pñrtiçs colleotiv*åy may prcvide for l.'ifty {5û} pcrcerit *f that Party'* real
prapcrty t¿xes c*lleerted on any *pecific parcel of real Froperty identifiecl ìn sueh resnluti*n ar
ordinance {cr bothJ t* be rernitted ta the Land l}ank for a pelioci of livc y*ars in ¿ccarclanqe with
tlre pravísians of section 161û{c} of the land l}ank Act




                                                      tü
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            ü*ction 8,04, Man*genent ¿¡f ftrnds. The Land Bs¡tk, shall designalc a tissal agent of
    the Lsnd llarrk to nrrnage sale.r ¡lrnce*d*, nonctary c*ntribution* made by the llañies', and nther
...,.Ira¡rd-Bank.fu¡rds, Standard *${$l¡nfiüg prcr:edures shall.bç used i-¡"r th.c, mãnggç..nent s:f Land
    ü*nk accaunts,

           fiection S.0S. Autharicèd Expcndifrre*. The Lc¡nd Sank shall i¡r it* sole discrcti*n and
  rvithin itn budgot expend such funds âs necÊ-qsery to *any û*t the pÕlvtrs, dutie*, functiÕns, å:,rd
  re*ponsibilíties ûf a land bank under the Land Barrk Act ca¡rsistent lvith this Agr**ment, a*d
  Stnte lnw.


                                               .4RrÍCLn    ffi
                                   I}UII.,{,TTON OT AGRäXM          B}{î
          $cction *,û1- ûurxtion. Thix,{greement sh¿ll rumrn*n*e *n t}rc Effective date and
  shall rsmain in full fbr¿e and efkct fcrr a period ¡f five ycãrs. This Agreement shall th*realter he
  a*t*matically renewcd fsr sue*esgivr ñve year p*ricds untii withd¡awal ol'one of thc parties in
  sccordance widr ssction 9.ü2 ûr dissoluti** nf ths Land Ënnk in accordanc* witlt tlte provisions
  *f *ecfion 9.û3.

          Se*tian S.{}?. lryífkdrarysl þ' Frrty* Eithcr Farty may withdraw fram this .Àgreemenî
  xpon six {6} r*trnths nctieç to fhe *l}rsr Fady, *nd t*: tirs Land l}ånk. '[he withdrswing Pnrty
  shall havs na righte ta funds *r e¡ther asset* of ûre I,aTìd låank. if at tlr* tinre. sf ìdthdr*\ryal ths
  requirernents afthe Lar.d lÌank Act prc:vide that scmc.Rea[ Frcp*rty af tlre Land Bank he
  liquidnted, åny suffi¡¡ ¡eceìv*d frcnr thn sale of snch prôpefiies slrall remain the funds sf th* Land
  Fsrrk- Upon the widrdrawal *f *ny Farty tc this Agre*menf* the pr*vision* of this Agreernent
  shall remain in force f'ar any remainìng Fflrtic{r t* thc Agrcemø*t.


         Section. 9.fll* lliscolutioir. l-hc Land Bank nray only be dissolved pur*unnt to the
  requirements *f Sectir:n ISIS cf the Lard Bank Åct.


                                                        X
                                                   .Å.RTTTT,B
                                           MI$CELLÅNEf}US

          Scstian 10,ûtr. N*tie€s. Á"ny axd all correspondence or rofices required, pennitted, or
 preivided fbr *nder this Ågrccrn¡:nt tn bc dsliv*red to *ny Party shall l¡e s*nt to fhat Party vi*
 certilicd mail, retum receþt lc.quest*d* and by r*gul* US maïl. Àll c*rrarpondence shaÍl be
 concidered deliver*d to a Farty as of the dats thar s*sll n*tiee is depø*itsd with suf{i*ient Fnslege
 witå the tlnite.d States F<¡stal Sefficc. ¡1ll su*k ivrittsn nûlisss) including *ny notice *f
 rvithdrawal under Árticle IX, shall be sent te¡ the Farlies the adclresscs bal*w, ar *ny *ub*r.quertt
 address provided by cithcr Party:




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        To; O*rndaga üounly

        ünondaga County
        Offrce CIf the CCIunty Executive
        Att: Courtty'frxscutive
        John I{"   Mulrcy Civic Cent*r, 14th Flo*r
        4?1 Mcntgonrery Strect
        Syracuse, New    York 'l.3?û2
        With carbon cüpy tû:

        ûnondaga County
        I)epa$mcnf. a'flLar¡r
        ,{tt: County Attcr*cy
        Jolu l{. Mulroy Civip Center lüth }'I..
        421 Montgomery $treet
        $yr*ruse, Ncrv York     l32tz
        TO; I"ke Cíty of $yracuse

        City of Syracl"sc
        Ofl'rce af the Mayor
        Att Mayor
        233 Ëast V/ashingtr:n S{r*et
        $yracusq NY t3?û?
        lfith Crrbon Ccpy to:
        City eif Syracusc
        Þepartmontof Law
        Åttt C*rporatåon Counsal
        ?33 Hast lVashinglon Street
        Syracuse, NY l3?fl?

        Ànd to:

        City of Syracuse
        City Clerk
        ?33 Ë, W**hingtnn Strcet, Rrn, 231
        Syrzcuse, NY l32t)2

        $ecti*n t{1.{11. Extirs ,*lgreemenl- This "Å,greement seß forth th* sntire Ágre*nrent
between tlre F¡rfics and snpereedes any and all prior agrecrnents or *ndsrstandings between them
in any way related to t}e subject måttçr of this Â.greement. It is further unelerstood *nd agreed
th¿t the lenì1s and sûnditions sf thís Ágreement are contractual and are not a msre rscitå"I end
that therc år$ n$ other çontract*, understaxdings, cr representations betweon the Fsrties in any
way relateil to the subject rnåttôr Õf this Á.greement, exeept as expressly slated in this .Àgreemenl.




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       $eetio* 1ü.t3. Iuterpr*t*tion sf .{,gre*ment. Thc Fartics int¡nd l}r¿t this Á"grecmcnl
sh*ll be c.Õnstrued lìherally to effr*tuåte ths i¡rtsnt nn*l purpo*cs of fhis ^&greement and the
.þglslatiy* inlen!.Ard_p1ryp_g¡cç. sf the Land-$A¡þåç.!, egsgfçrglqtç g*d ind*pendent *r¡thoricetio¡r
 lbr tlrs perfurmancs of each *nd ev*ry ¿*t and fhing authorir,ed by this Âgre.em$nt Ênd thç Land
 3ffik Act. All p*wers granterf tû thð Land Þeäk under this Ågreernent and the Land Bank A*t
 sh¿l} be broadly infe¡pr*tcd t* effs*luate the intent and purp*ses and nÕt âs n lirnitation rf
powers.

         Sæti*n 10.04, Sever*bÍlify af Frovi*ionx" lf any prcvision *f this rtgreement, *r its
applieati*n tn any Pcrscxl, Pâr1y, *r ci¡cumst¿¡nc*, i* invalíd cr unsnfcrceat"rleu th* rcnruintlor *f
tlis ,4greement and the applieation of th¿t ¡:ravi*ion to atber Fsrsons, Parties, ar.eircumstaRees is
nat affbct*d but will be çnlbrcsd tc thc extent pcrmitt*d by larv.

        $**fiou 10.û5. Governing Law. This.Á,greeme.nl is made ancl *nt*rsd inta in the State
of New York and shatl in all rcspects be interpret*d, enforced, and governed under fhe lews of
the ätate r¡f N*w York without regard t$ {h* ¿f**trines {rf ¿o¡rflict sf lawç, 'l"ha language cf all
parts af thls .ågrixrnent shall in all cssçs bc Õûnstt'ued as a whcle acrcrding t* its plain and fair
nreaning* and n*¿ canstrusd strietly fcr or *gainst âny llatty,

        $eetiox 10.*6, Capfion* and llea$ings. The eapti*ns, headings* *nil {i{.Les irr this
Âgre*m*nt ar* intcnrlsd for the convenienoå af (he roader and ats na1 intended t* havr any
*tb*tantiv* rncaning sr t* bo inteqpreted a.s part of this Agr*enrent

        S*clion 1ü.$?. ?ermindagy. ¡\il terms and r$ordc use¡l in thi*.&gre*ment, rcgardle*s ùf
the numl¡er or gender in which they arc rxecl, arc deen¡ed to insluds n*y athcr nunrber end any
oth*r gender as the context may rcquire.

        S*ction tü.0ä, Cr$ns-Rcferênf*s. References in tlis Agre*ment to any *r'Éìclc i¡rdudç
all *acti*ns* subs**tion$, and paragraphs ín lle a*iclc, u¡duss spccilìculiy nu[ed uthcrwise"
Refer*nccs in this .Agr**nrent to an)r se*tion insh¡dç all eub*ections ¿nd paragraphs in ¿he
seclion.

        S*etion 1û,ü . Jurisdictiun and Venne" In the evEnt of ar:y disput*s bctween lhe
Fartie* over the meaningo inlerpretætion, or implemenfstion of tha lerrnsr *Õvenântsn or ccnditions
of this llgreement, thc mattet undsr dispute, untress resalved betrvee"n th* ?artie*, shall he
xubmitted to {he eÕu:f$ of Õnondrga County.

       $e*ticn 10.10, "A.mendments l* r.tgreement" Thi* Ågreernenl may be am*nded n¡ an
alicmstiv* farnr of this Agreement adapteil only upo* written amendment apprcwl by all
Farties"

         Ssction lû.IL    ¡lmendment* to Lrud B*¡rk Ået. The Land Bank shall have any
pô\¡{ers arttharizÕd pursuånt tc any *ffiendrne$ts, rep}acementsn or substilutiaxs to fhp La¡rd Êank
Âct, unla*is tlre Ågre.emutt is affended hy the Fa*ies to provide oth*rrvise.

         f*s:rion tû.12 Cc.rificrte'of Incorparatirm. ltlre Certilicate ûf Ineurp*ration of the
üREATËR SYI{Á,C{J$Ë FRÕFERTY NTìVET,ÕPMANT EORPORATIÕN are nttached to this
,,{gr*erRent as Fxhihit'oA" and in*crpuratcd h*re.in by reference.


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       S*stlsn l{).13. [ffe*tþc          l*te.    I.hix Ågreement shall hecoms effbctív* as of the
Fffective Da{e   as that   term is defined irr Sectian 1,t3. of this Agreemerrt.




                 lfihe remaínder of thìspage ís ínlenti*r*þ te$ hlank wtth
                 thc tigtat*r* pügtes ímm*dí*talyfaîlowing an the next page,j




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        IN IUITNã$S ItrHtl{EÕF, the Co$nty cf Oncndaga and the City cf Syracuse }rave
caused thÍs Agreement to be exscuted by their authorized representatíves tn the dats indicated*
to be,effcçtivs npon the Ëffsçtivs ûate as that term is dcssrib*d withîn tirís Agreenent-


                                                           ûT{ONnÂç.À CO{.II{TY



Ða{$d:                         ,2012                 By:
                                                ûffh              M. h,Iahoney
                                                                     County Executive




                                                           cITy üx'$Ynq,cu$t


D¿ted:                            2üt2               Sy:
                                                            Stephanie A, Miner
                                                            Mayor



                                                            ATTEST:




                                                            Jahn P, Ccpanas, City   tlerk




                                                15
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       IN ïl¡ilKESS WIII3RËOF the Crunty *f ünondaga and the Cily *f $yra*use havs
e*uxed thi"* Á,gre*msnt tÕ bs exrcutçd by*rreir authorized representatìvðÈ *n the date indicated*
{o be effe*tiyq."gpq$.{hf Ëffcctivg"I}ate âr   thatterir$ {egpribe$yj$ir,1h1*$Srsêmcnt   .




                                                 CÞ{tNnAÕ¡\" COIINTY



Dat*d:.--*                                       FY:
                                                    J*anne M. M*honey
                                                    üneindaga Co*nty lìxeü¡tivç




nod^, JfA6 f         ton                         CTTY    üII $YR.å,CUSE



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                                                 ATTEST:


                                                                            å*an,
                                                 lohn F            City




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STATß $FTì{EW Y{}RK }
COIJNTY OF' ûNONIIAõ,4,) xr.:

         Õ¿ rhi¡ -r (           a^yof Ma¡ch               . 3t1 2, befare rn*, the undersigncd a
T.{ctary Fublic in and far said Stat*,   prrscnally app*ared JOANNB M. M,åIIûNST,1o me
knovsn, who, heing by me duly sworn, díd d*pase and say that she rcbides in Syraem*, N*w
York; th*l she is ttre Ç..Sur{y*Fo"¡qeutivc af the Couilf-y of Õnondg,gê p*sonally known tû rse
at proved tÕ mê on the bacis Õf sati$aclary cvidenw l* be the individual rn¡hose sanre is
subssribed ts the within instrumen{ ¿nd aeknowledg*ri to me that *hc executed the same in
her *apacity and that by her signaturc on dre insfrurna*t. thç indÍvidual, ar lho pçr$*tt upÕn
behalf of which tlrc individusl acted, *xeoutcd the in*trumcnt.




 Î{otaqy

        MARTINJ. MUNFHY

 å.#Lrfüi,:rîtrünîTäå
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$TI$EûFNE\VYTRK )
      ür ONONDA,GA )
üÕLINTY                                ss.
crTY oF    SYRACUSË                )

        ü$ this#r*h dayof lfta,t"ul't             3012 hcforc me personally c*me Sfephanie A,
Miner, Mayor of the City of $yra*use, *rith rrshCIm i am pers*n*liy ar;quainted, whû, boirrg by me
duly xworn, did depos* and cay: that *he resídes in th* City cf Syracuse. Nerry Y*rk; that she Í*
Mayor af the City af Syracuse, the corpo'ratian des*riiled in and whi*h exðÕutêd the within
instrum*nt; tkat *hc knows the cr:rp*rnte *cal of said City of Syracusc ând ít wa* so affixed pur*uant
fo &s tharter cf the City and that she sign*d said instnlmênt âs Mayor of said City of $yraeuse by
like aulharity; and the said Stcphanis *{" Miner further nay* fhat shc ìs acquaintcd $¡ith Jshn A,
Ccpanas and kncws him to be the City Clerk of raid City of $y:a*uss ånd thatthç signature of .lohn
F. Copanas was hrreto subsmibed pur$rånt to snid Cha*cr and in the presence of her, the said
Stephania "4. Miner, Mayor.




                                              t"n**u* {. ta;rtux-
                                                      N*taqy Public
      CÅTilEAINF ã" TÂRNRIKË
    Notarv- Fr.¡blic, $lâte of New York
            No,0åt46112?91
     ûualltlod ïn Onondaga Couttg
 Comrniss¡on Ëxpiros July 12,   ?.0Vd*
